Case 20-10036-CSS Docé66 Filed 02/21/20 Page 1of19 Le

FILED ~~ CLASSIC

Tough Mudder Incorporated & 20

Tough Mudder Event Production Incorporated a FEB Z| AM 8: 40 TENTS & EVENTS
15 MetroTech Center Us CLERK

Seventh Floor JS BANKRUPT Cy COURT

Brooklyn, NY 11201 STRICT OF DELAWARE

RE: Case No. 20-10036 & 20-10037

February 12, 2020

To Whom It May Concern:

Tough Mudder Inc. owes SEM Events, LLC DBA Classic Tents & Events a total of $13,964.42 for events in
December 2019. Total amount due was $21,980.61 and payments totaling $8,016.19 were made leaving
a balance of $13,964.42.

Supporting documents are as followed:

e Customer statement and open invoices

e Final demand letter sent on February 1, 2020 requesting payment for balance due

¢ Delivery receipt for final demand letter

® Customer file log showing communication with client in regards to collecting debt owed
¢ Email correspondence for the order request

Please feel free to contact Michele Morales, Accounting Manager, in regards to this matter at 770-449-
1010.

Sincerely,

Accounting Department

6380 best friend road
norcross, georgia 30071

770.449.1010 tel
770.242.4030 fax

info@classic-tents.com

..because there is ne second chance for your event! www.classic-tents.com
 

Case 20-10036-CSS SF 66 Filed 02/21/20 Page 2 of 19

tatement

Classic Tents & Events Account# 8219 Page 1 of 9

6380 Best Friend Rd.
Norcross, GA 30071

Statement Date: Thu 2/13/2020

770-449-1010 Fax 770-242-4030

Classic-Tents.com

Bill to

 

 

 

 

Remit To _

 

 

Tough Mudder Inc.

15 MetroTech Center
Seventh Floor
BROOKLYN, NY 11201

Classic Tents & Events
6380 Best Friend Rd.

Norcross, GA 30071

 

 

plant a tree save a life

 

Cont/Invoic Status Date

33779 Closed 12/ 3/2019

Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Sale 11/ 9/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019

Rent Sale Dmg Wvr Other Percent Tax Total Paid}

1,381.00 180.00 0.00 0.00 0.00 120.98 1,681.98 840.99

2 10lb Fire Extinguisher
1 20x40 F3 White Frame Tent
2 50ft Extension Cord
10 8x10 Keder Wall Section (Navi)
1 8x20 Section Solid White Wall
1 Delivery & Pickup
2 Fire Pkg- Lighted Exit, No Smoking, 10Ib
2 No Smoking Sign (printed)

 

 

Sale 11/ 9/2019 1 Separator Note
Period: 11/ 9/2019 - 12/ 3/2019 information: 2019 ATL Mudder
33786 Closed 12/ 3/2019 9,337.20 535.00 0.00 0.00 0.00 765.10 10,637.30 2,470.92

Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 42/3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Renta! End 12/ 3/2019
Rental End 12/ 3/2019
Sale 11/15/2019
Sale 11/12/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019
Rental End 12/ 3/2019

Printed On Thu 2/13/2020 10:59:10 am

   

8,166.38
100ib Propane Tank - Blue 8
100lb Propane Tank - Blue
10x10 White Fiesta Frame Tent
10x20 White Marquee Tent
10x20 White Marquee Tent
10x40 White Marquee Tent
170,000 BTU Propane Heater Kit
170,000 BTU Propane Heater Kit
20x20 White Frame Tent
20x20 White Frame Tent
30x30 F3 White Frame Tent
40x40 Navi-Trac Tent : oe
40x50 Navi-Trac Tent gos 4]
50ft Extension Cord : i
50lb Propane Tank - Orange
80,000 BTU Propane Heater Kit
8x10 Keder Wali Section (Navi)

8 8x15 Cathedral Keder Wall (Navi)
8 8x20 Cathedral Keder Wall (Navi)
4 8x20 Cathedral Wall Sections
4 8x20 Cathedral Wali Sections
12 8x20 Keder Wall Section (Navi)
8x20 Section Solid White Wall
8x20 Section Solid White Wall
8x20 Section Solid White Wall
8x20 Section Solid White Wall
8x20 Section Solid White Wall
8x30 Section Solid White Wall
9x10 White Marquee Tent
9x60 White Marquee Tent
Bistro/Market LED Lights
Delivery & Pickup
addi delivery request
Diffuser for 170,000 BTU Heater
Diffuser for 170,000 BTU Heater
Diffuser for 80,000 BTU Heater

 

 

4
4
1
1
1
2
1
3
1
2
1
1
1
2
1
1
2

 

 

BW ANRAABAwDWWNWHN

 

 

 

Software by Point-of-Rental Software WWW.POINT-OF-RENTAL.COM statements-params.SQL.rpt

 
 

 

 

Case 20-10036-CSS Da¢ 66 rf tg02/21/20 Page 3 of 19

 

 

   
 
 

 

 

 

 

 

 

 

 

Classic Tents & Events ccoun Page 2 of 9
Cont/Invoic Status Date Rent Sale Dmg Wvr Other Percent Tax Total Paid]. = Balance
Rental End 12/ 3/2019 2 5 Gallon Cambro :
Sale 11/15/2019 1 Separator Note
Sale 11/15/2019 1 Separator Note
Rental End 12/ 3/2019 1 10 Gallon Cambro
Rental End 12/ 3/2019 4 10 Gallon Cambro
Rental End 12/ 3/2019 4 Thermostat for LB White Heater
Rental End 12/ 3/2019 1 Thermostat for LB White Heater
Rental End 12/ 3/2019 1 Thermostat for LB White Heater
Rental End 12/ 3/2019 10 Z-Style Coat Rack
Period: 11/15/2019 - 12/ 3/2019 Information: 2019 Toughest Mudder
33794 Closed 12/3/2019 7,924.50 375.90 0.00 0.00 0.00 635.77 8,936.17 4,468.09 4,468.08
Rental End 12/ 3/2019 6 10ib Fire Extinguisher oe
Rental End 12/ 3/2019 1 10x20 White Marquee Tent . oe
Rental End 12/ 3/2019 6 120" Round Linen- Black
Rental End 12/ 3/2019 2 20x20 White Frame Tent
Rental End 12/ 3/2019 1 20x30 White Frame Tent
Rental End 12/ 3/2019 1 20x40 F3 Gable White Frame Tent
Rental End 12/ 3/2019 6 30" Wide Cocktail Table - 42” Tall
Rental End 12/ 3/2019 1 30x30 F3 White Frame Tent
Rental End 12/ 3/2019 4 350lb Concrete Weight
Rental End 12/ 3/2019 4 350lb Weight Covers- White
Rental End 12/ 3/2019 1 40x50 Navi-Trac Tent
Rental End 12/ 3/2019 6 50ft Extension Cord
Rental End 12/ 3/2019 4 50ft Extension Cord
Rental End 12/ 3/2019 10 6' White Picket Fence
Rental End 12/ 3/2019 2 8x10 Cathedral Keder Wall (Navi)
Rental End 12/ 3/2019 4 8x15 Cathedral Keder Wall (Navi)
Rental End 12/ 3/2019 7 8x15 Keder Wall Section (Navi) °
Rental End 12/ 3/2019 8 8x20 Keder Wall Section (Navi)
Rental End 12/ 3/2019 8 8x20 Section Solid White Wall
Rental End 12/ 3/2019 40 8x20 Section Solid White Wall
Rental End 12/ 3/2019 1 9x10 White Marquee Tent
Rentai End 42/3/2019 1 9x60 White Marquee Tent
Rental End 12/ 3/2019 4 Bistro/Market LED Lights
Sale 11/5/2019 1 Delivery & Pickup
Rental End 12/ 3/2019 12 Doublehead Steel Stake
Rental End 12/ 3/2019 6 Fire Pkg- Lighted Exit, No Smoking, 10Ilb
Rental End 12/ 3/2019 4 Free Standing Sign and Banner System |
Rental End 12/ 3/2019 6 No Smoking Sign (printed)
Sale 11/ 5/2019 6 Set-Up/Take-Down Tables
Rental End 12/ 3/2019 10 Single Panel For 6' Picket
Rental End 12/ 3/2019 10 Single Post/Base for 6' Picket
Rental End 12/ 3/2019 2 Single Post/Base for 6' Picket
Period: 11/ 5/2019 - 12/ 3/2019 Information: 2019 Atlanta Mudder
33938 Closed 12/ 3/2019 488.00 185.00 0.00 0.00 0.00 52.16 725.16 236.19 488.97 |
Rental End 12/ 3/2019 2 100Ib Propane Tank - Blue :
Rental End 12/ 3/2019 2 170,000 BTU Propane Heater Kit
Sale 11/ 8/2019 1 Delivery & Pickup
Rental End 12/ 3/2019 2 Diffuser for 170,000 BTU Heater
Rental End 12/ 3/2019 2 Thermostat for LB White Heater
Period: 11/ 8/2019 - 12/ 3/2019 Information: Tough Mudder
21,980.61 8,016.19 13,964.42
iount Due: 13,964.42

 

 

 

  

 

Due Now 31-60 Days 61-90 Days 91+ Days
0.00 0.00 13,964.42 0.00

YOUR ACCOUNT IS PAST DUE , YOUR IMMEDIATE ATTENTION WILL BE APPRECIATED.

 

 

 

 

 

Printed On Thu 2/43/2020 10:59:12 am Software by Point-of-Rental Software WVVW.POINT-OF-RENTAL.COM statements-params.SQL rpt

 

 
Case 20-1003) GK vOORGE PROIRETORRHERT Page 4 of 19

Printed On Thu 2/13/2020 10:59:12 am Software by Point-of-Rental Software WVWW.POINT-OF-RENTAL.COM statements-params.SQL.rpt

 
Case 20-10036-CSS Doc66 Filed 02/21/20 Page 5 of 19
Page 1 of 2

 

Classic Tents & Events
6380 Best Friend Rd.
Norcross, GA 30071
Classic-Tents.com

 

Closed ‘| Invoice #
Tue 12/3/2019 33779

 

 

 

 

 

 

Bill to: Customer#.: 8219

Tough Mudder Inc. | 1 Job Descr: 2019 ATL Mudder

15.MetroTech Center
Seventh: Floor

BROOKLYN, NY 11201 , Date Out: ~ Sat 11/9/2019:

 

 

Terms Aging Date
Due upon receipt Tue 12/ 3/2019

 

 

 

 

 

Ordered By: Aaliyah Fowler
Salesman: Karen Alcock

DELIVERY AND PICKUP

Delivery Date: Sat 11/2/2019 8:00 AM Contact: Aaliyah Fowler
Pickup Date: Mon 11/18/2019 Phone: 916-308-9608

Used at Address: 8750 Campbellton Fairburn Rd ; FAIRBURN, GA 30213
Delivery: Arrive: 8 AM

Delivery Times confirm

Stays through WTM

Delivery Arrive 8AM

CLIENT RESPONSIBLE FOR PERMITTING-Sent Flame Cert to anamaria.rojas@toughmudder.com 10/09/18.
CLIENT RESPONSIBLE FOR POWER/GENERATOR

 

 

 

 

 

 

 

Qty Item | Description Date Amount Rate
1 1826 | 20x40 F3 White Frame Tent Tue 12/ 3/2019 994.00 994.00

1 1536" |8x20.Section Solid White Wall Tue '12/.3/2019 33:00: : 33.00

10 1545 | 8x10 Keder Wall Section (Navi) Tue 12/ 3/2019 17.00 170.00
2 1314: | Fire Pkg- Lighted Exit, No’Smoking,10Ib Tue 12/ 3/2019 92.00 184.00

2 958 No Smoking Sign (printed) Tue 12/ 3/2019 0.00 0.00

2 959 10ib Fire Extinguisher Tue 12/ 3/2019 0.00 0.00

2 426 50ft Extension Cord Tue 12/ 3/2019 0.00 0.00

1 2316 Delivery & Pickup Delivery 180.00 180.00

1 2315 Separator Note / Sales 0.00 0:00

 

 

 

Please pay from this invoice.

 

Rental and Sales: Misc Charges: FULTON (NOT ATLANT
$1,561.00 $0.00 $0.00 $120.98
Payment Due upon receipt

 

 

 

 

 

 

 

 

 

Total Amount: $1,681.98 Total Paid: $840.99 Total Due: $840.99

 

 

 

770-449-1010 Phone 770-242-4030 Fax

 

 

 

 

Printed On Thu 2/13/2020 10:59:12 am Software by Point-of-Rental Software WWW.POINT-OF-RENTAL.COM statements-params.SQL.mpt

 

 
Case 20-10036-CSS Doc 66

 

Classic Tents :&-Events
6380 Best Friend Rd.
Norcross, GA~ 30071
Classic-Tents.com

 

Bill to: Customer#:.8219

 

Tough Mudder Inc.

15 MetroTech Center
Seventh.Floor
BROOKLYN, NY 11201

 

Ordered By: Aaliyah Fowler
Salesman: Karen Alcock

DELIVERY AND PICKUP

Delivery Date: Mon 11/11/2019
Pickup Date: Mon 11/18/2019

Filed 02/21/20 Page 6 of 19

 

 

 

 

 

 

Page 1 of 2
Closed Invoice #
| Tue 12/ 3/2019 33786
Job Descr:. 2019 Toughest Mudder
Date Out: Fri 11/15/2019
Terms Aging Date

 

 

 

 

Due upon receipt Tue 12/ 3/2019

 

Contact:
Phone:

Aaliyah Fowler
916-308-9608

Used at Address: 8445 Browns Lake Rd ; FAIRBURN, GA 30213

Deliver when picking up POR#33779
Delivery Arrive 8 AM

2 HEATERS ARE ALREADY ON SITE
WILL NEED TO BRING NEW PROPANE.

40x80 MERCH TENT IS ON DYEHARDFANSUPPLY INVOICE

CLIENT RESPONSIBLE FOR PERMITTING-Sent Flame Cert to anamaria.rojas@toughmudder.com 10/09/18.

CLIENT RESPONSIBLE FOR POWER/GENERATOR

 

 

LOOK AT ADDRESS:
40045 Cedar Grove Rd Fairburn GA 30213
Qty item Description Date Amount Rate
2 2318 | 5 Gallon Cambro Tue 12/ 3/2019 26.50 53.00
1 296. | 10x10'White Fiesta Frame Tent”: Tue 12/ 3/2019 109.00. 109.00
1 2479 | 9x60 White Marquee Tent Tue 12/3/2019 520.00 520.00
{ 701 9x10.White. Marquee Tent Tue:12/:3/2019 87.00 87.00
1 739 | 10x20 White Marquee Tent Tue 12/3/2019 197.00 197.00
1 739 10x20: White Marquee Tent Tue: 12/:3/2019 197.00". 197.00
2 737 | 10x40 White Marquee Tent Tue 12/3/2019 393.00 786.00
1 388 | 20x20 White Frame-Tent Tue’ 12/3/2019 331.00 331.00
2 388 20x20 White Frame Tent Tue 12/ 3/2019 166.00 332.00
{ 1369 | 30x30 F3 White Frame Tent Tue. 12/ 3/2019 745.00 745.00
1 575 | 40x40 Navi-Trac Tent Tue 12/3/2019 1,325.00 1,325.00
1 1645 40x50 Navi-Trac.Tent Tue:12/ 3/2019 830:00 830:00
2 1536 | 8x20 Section Solid White Wall Tue 12/3/2019 33.00 66.00
3 1536 | 8x20 Section Solid White Wall Tue 12/3/2019 33.00 99.00
2 1536 | 8x20 Section Solid White Wall Tue 12/3/2019 33.00 66.00
3 1536. | 8x20:Section-Solid White Wall =. Tue 12/3/2019 33.00. | 99:00

 

 

 

 

 

 

 

 

Printed On Thu 2/13/2020 10:59:12 am

Software by Point-of-Rental Software WVWW.POINT-OF-RENTAL.COM

statements-params.SQL.rpt

 

 
 

Case 20-10036-CSS Doc66 Filed 02/21/20 Page 7 of 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 2 of 2
Continued

Qty ltem Description Date Amount Rate
8 1536 8x20 Section Solid White Wall Tue 12/ 3/2019 33.00 264.00
1 1732 8x30.Section Solid White Wall Tue.12/'3/2019 50:00 50.00.
4 2003 8x20 Cathedral Wall Sections Tue 12/ 3/2019 63.00 252.00
4 2003 | 8x20 Cathedral Wall Sections Tue:12/ 3/2019 63.00 252.00
2 1545 | 8x10 Keder Wall Section (Navi) Tue 12/ 3/2019 17.00 34.00
12 1547° 1 8x20 Keder Wall Section:(Navi) Tue 12/3/2019 33:00 396.00
8 1552 + 8x15 Cathedral Keder Wall (Navi) Tue 12/ 3/2019 45.00 360.00
8 1553... | 8x20 Cathedral Keder Wall (Navi) “Tue 12/3/2019 60.00. 480.00
10 1061 Z-Style Coat Rack Tue 12/ 3/2019 38.00 380.00
4 4951 Bistro/Market LED Lights Tue. 12/.3/2019 38.00 452.00
1 2746 | 170,000 BTU Propane Heater Kit Tue 12/ 3/2019 114.00 114.00

3 2746 | 170,000 BTU: Propane Heater Kit Tue 12/ 3/2019 114.00 342.00.-
4 147 100lb Propane Tank - Blue Tue 12/ 3/2019 130.00 520.00
4 147 100lb. Propane Tank = Blue Tue 12/3/2019 130.00 520.00
1 2747 | 80,000 BTU Propane Heater Kit Tue 12/ 3/2019 91.00 91.00
1 145 50lb Propane Tank:- Orange Tue. 12/3/2019 65.00 “65.00
4 148 | Thermostat for LB White Heater Tue 12/ 3/2019 0.00 0.00
1 148-. | Thermostat for LB White Heater Tue 12/3/2019 0.00 0.00:
1 148 Thermostat for LB White Heater Tue 12/3/2019 0.00 0.00
1 1923 Diffuser for 80,000 BTU Heater Tue 12/ 3/2019 0.00 0.00
1 1924 | Diffuser for 170,000 BTU Heater Tue 12/ 3/2019 0.00 0.00
3 1924 -| Diffuser for 170,000 BTU Heater Tue 12/ 3/2019 0.00 0.00
2 426 50ft Extension Cord Tue 12/ 3/2019 12.00 24.00
1 1928 | 10 Gallon Cambro Tue-12/ 3/2019 29.00 29.00
4 1928 | 10 Gallon Cambro Tue 12/ 3/2019 29.00 116.00
2 2316 Delivery & Pickup Delivery 180.00 360.00
1 2315 Separator Note Sales 0.00 0.00
1 2315 Separator Note Sales 0.00 0.00
1 2316 addl delivery request Delivery 175.00 4175.00

Please pay from this invoice.
Rental and Sales: Mise Charges: FULTON (NOT ATLANT
$10,818.00 $0.00 $0.00 $765.10
Payment Due upon receipt

Total Amount: $11,583.10 | Discount: $945.80 Total Paid: $2,470.92 Total Due: $8,166.38

 

 

 

 

770-449-1010 Phone

 

770-242-4030 Fax

 

 

Printed On Thu 2/13/2020 10:59:12 am

Software by Point-of-Rental Software WVW.POINT-OF-RENTAL.COM

statements-params.SQL.rpt

 
Case 20-10036-CSS Doc 66

 

Classic Tents. & Events
6380 Best Friend Rd.
Norcross, GA’ 30071
Classic-Tents.com

 

Bill to: Customer#. 8219

 

Tough Mudder Inc.

15 MetroTech Center
Seventh Floor
BROOKLYN;:NY 11204

Ordered By: Aaliyah Fowler
Salesman: Karen Alcock

DELIVERY AND PICKUP

Delivery Date: Tue 11/ 5/2019
Pickup Date: Mon 11/11/2019

Filed 02/21/20 Page 8 of 19

 

 

 

 

 

 

 

 

Page 1 of 2
Closed Invoice #
Tue 12/ 3/2019 33794
Job Descr: 2019 Atlanta Mudder
Date Out: Tue 11/5/2019
Terms Aging Date

 

 

 

 

Due upon receipt Tue 12/ 3/2019

 

Contact:
Phone:

Aaliyah Fowler
916-308-9608

Used at Address: 8445 Browns Lake Rd ; FAIRBURN, GA 30213

Delivery: Arrive: 8 AM
Delivery Times confirm
Stays through WTM
Pickup Arrive 9-10 AM

CLIENT RESPONSIBLE FOR PERMITTING
CLIENT RESPONSIBLE FOR POWER/GENERATOR
CLIENT PROVIDING OWN TABLES AND CHAIRS

 

 

 

 

 

Qty item Description Date Amount Rate
1 2479 +} 9x60 White Marquee Tent Tue 12/ 3/2019 520.00 520.00
1 701 9x10 White Marquee Tent Tue 12/3/2019 87.00 - 87.00
1 739 10x20 White Marquee Tent Tue 12/ 3/2019 197.00 197.00
2 388 | 20x20 White Frame Tent Tue 12/ 3/2019 331.00 662.00
1 392 | 20x30 White Frame Tent Tue 12/ 3/2019 497.00 497.00
1 1880... 20x40 F3-Gable White Frame Tent Tue 12/3/2019 662:00 662.00
1 1369 30x30 F3 White Frame Tent Tue 12/ 3/2019 745.00 745.00
1 1645.4: 40x50 Navi-Trac Tent Tue-12/:3/2019 1,656.00 1,656.00
4 1299 | 350lb Concrete Weight Tue 12/ 3/2019 16.50 66.00
4 1389 350lb: Weight Covers-.White Tue:12/-3/2019 0.00 0.00

12 582 Doublehead Steel Stake Tue 12/ 3/2019 5.00 60.00
8 1536. 8x20 Section Solid White Wall Tue12/°3/2019 33.00 264.00
40 1536 8x20 Section Solid White Wall Tue 12/ 3/2019 33.00 1,320.00
7 1546" | 8x15: Keder Wall Section (Navi) Tue 12/3/2019 25:00 175.00.
8 1547 8x20 Keder Wall Section (Navi) Tue 12/3/2019 33.00 264.00
2 1952 8x10 Cathedral Keder Wall (Navi) Tue 12/ 3/2019 30.00 60.00: |
4 1552 8x15 Cathedral Keder Wall (Navi) Tue 12/ 3/2019 45.00 180.00
6 2537 -| 30" Wide Cocktail Table - 42" Tall Tue 12/3/2019 15.00 90.00
10 2576 6' White Picket Fence Tue 12/ 3/2019 22.00 220.00
10 2568 Single Post/Base for 6' Picket Tue 12/ 3/2019 0.00 0.00
10 1781 Single Panel For 6' Picket Tue 12/3/2019 0.00 0.00

 

 

 

 

 

Printed On Thu 2/13/2020 10:59:12 am

Software by Point-of-Rental Software VWWWW.POINT-OF-RENTAL.COM

statements-params.SQL.rpt

 

 
 

Case 20-10036-CSS Docé66 Filed 02/21/20 Page 9 of 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 2 of 2
Continued

Qty Item Description Date Amount Rate
2 2568 .| Single Post/Base for 6’ Picket - Tue 12/3/2019 : 0.00 0:00
6 1100 | 120" Round Linen- Black Tue 12/3/2019 20.00 120.00
4 1942 Free Standing Sign and: Banner System Tue.12/ 3/2019 52.00 208.00
4 1951 | Bistro/Market LED Lights Tue 12/ 3/2019 38.00 © 152.00
6 1314. | Fire Pkg- Lighted Exit, No. Smoking, 10lb Tue 12/3/2019 92.00 552.00
6 958 | No Smoking Sign (printed) Tue 12/ 3/2019 0.00 0.00
6 959° | 101b Fire Extinguisher Tue. 12/3/2019 0.00 0.00
6 426 50ft Extension Cord Tue 12/ 3/2019 0.00 0.00
4 426 50ft-Extension Cord Tue 12/3/2019 12.00 48:00
1 2316 Delivery & Pickup Delivery 360.00 360.00
6 177 Sét-Up/Take-Down Tables Sales 2:65 15.90

Please pay from this invoice.
Rental and Sales: Misc Charges: FULTON (NOT ATLANT
$9,180.90 $0.00 $0.00 $635.77
Payment Due upon receipt
Total Amount: $9,816.67 | Discount: $880.50 Total Paid: $4,468.09 Total Due: $4,468.08

 

 

770-449-1010 Phone

770-242-4030 Fax

 

 

Printed On Thu 2/13/2020 10:59:12 am

 

 

 

Software by Point-of-Rental Software WWW.POINT-OF-RENTAL.COM

statements-params.SQL.rpt
Case 20-10036-CSS Doc66 Filed 02/21/20 Page 10 of 19

Page 1 of 1

 

Classic Tents & Events
6380:Best Friend Rd.
Norcross, GA 30071
Classic-Tents.com

 

Invoice #
33938

Closed
Tue 12/3/2019

 

 

 

 

 

 

Bill to:

Tough Mudder inc.

15. MétroTech Center
Seventh Floor
BROOKLYN, NY. 11201

Customer#. 8219

 

Job Descr: «Tough Mudder

Date Out: » Fri.11/.8/2019

 

 

Terms Aging Date

Tue 12/ 3/2019

 

Due upon receipt

 

 

 

 

Ordered By: Aaliyah Fowler
Salesman: Karen Alcock

DELIVERY AND PICKUP

Delivery Date: Thu 11/ 7/2019
Pickup Date: Mon 11/11/2019
Used at Address: 8445 Browns Lake Rd ; FAIRBURN, GA 30213

Please deliver to Medical Tent.
Pickup arrive 9-10 AM

Contact:
Phone:

Aaliyah
916-308-9608

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Qty Item | Description Date Amount Rate
2 2746 170,000 BTU Propane Heater Kit Tue 12/ 3/2019 114.00 228.00
2 147..1.100Ib Propane Tank - Blue Tue 12/3/2019 130.00 ~ 260.00
2 148 Thermostat for LB White Heater Tue 12/ 3/2019 0.00 0.00
2 1924 | Diffuser for 170,000 BTU. Heater Tue 12/3/2019 0.00 0:00
1 2316 Delivery & Pickup Delivery 185.00 185.00

Please pay from this invoice.
Rental and Sales: Misc Charges: FULTON (NOT ATLANT
$673.00 $0.00 $0.00 $52.16
Payment Due upon receipt
Total Amount: $725.16 Total Paid: $236.19 Total Due: $488.97

 

 

 

 

770-449-1010 Phone 770-242-4030 Fax

 

 

 

Printed On Thu 2/13/2020 10:59:12 am Software by Point-of-Rental Software WWW.POINT-OF-RENTAL.COM statements-params.SQL.mpt

 

 

 
Case 20-10036-CSS Doc66 Filed 02/21/20 Page 11 of 19

Karen Alcock

From: DoNotReply @ereceipt.usps.gov
Sent: Saturday, February 1, 2020 9:41 AM
To: Karen Alcock

Subject: USPS eReceipt

Ea USPSCOM:

BOGGS ROAD
16@5 BOGGS RD
DULUTH, GA, 30896-5519

 

 

 

12275@-7500
(880) 275-8777
92/01/2028 09:39 AM
Product Qty Unit Price Price
PM Window FR Env 1 $7.75 $7.75

(Domestic)
(BROOKLYN, NY 11201)
(Flat Rate)
(Expected Delivery Day)
(Monday @2/83/2020)
(USPS Tracking #)
(9585 5168 1141 0032 9094 88 )
Insurance $8.00
(Up to $58@.8@ included)

(Account #:XXXXXXXXXXXX93@5)

 

 

 

 

 
Case 20-10036-CSS Doc66 Filed 02/21/20 Page 12 of 19

 

 

(Approval #:00055988)
(Transaction #:9000556)

(AID: Ae980000031010 Chip)

(AL:VISA CREDIT)

(PIN:Not Required CAPITAL ONE VISA)
Clerk ID: 9@

Receipt #: 840-33000749-1-1067737-2

Includes up to $5@ insurance

Text your tracking number to 28777
(2USPS) to get the latest status.
Standard Message and Data rates may
apply. You may also visit www.usps.com
USPS Tracking or call 1-800-222-1811.

In a hurry? Self-service kiosks offer
quick and easy check-out. Any Retail
Associate can show you how.

Save this receipt as evidence of
insurance. For information on filing
an insurance claim go to
https://www.usps.com/help/claims.htm

Preview your Mail

Track your Packages

Sign up for FREE @
www. informeddelivery.com
HELP US SERVE YOU BETTER

TELL US ABOUT YOUR RECENT
POSTAL EXPERIENCE

Go to:
https: //postalexperience.com/pos?mt=9

 

 

 

 
Case 20-10036-CSS Doc66 Filed 02/21/20 Page 13 of 19

 

 

840-3300-0749-001-G0001-07737-02

or call 1-800-416-7420.

YOUR OPINION COUNTS

Privacy Act Statement: Your information will be used to provide you with an
electronic receipt for your purchase transaction via email. Collection is
authorized by 39 USC 461, 403, and 404. Providing the information is
voluntary, but if not provided, we will be unable to process your request to
receive an electronic receipt. We do not disclose your information to third
parties without your consent, except to facilitate the transaction, to act
on your behalf or request, or as legally required. This includes the
following limited circumstances: to a congressional office on your behalf;
to financial entities regarding financial transaction issues; to a U.S.
Postal Service auditor; to entities, including law enforcement, as required
by law or in legal proceedings; to contractors and other entities aiding us
to fulfill the service (service providers); to process servers; to domestic
_ government agencies if needed as part of their duties; and to a foreign
government agency for violations and alleged violations of law. For more
information on our privacy policies visit

www.usps.com/privacypolicy.

This is an automated email. Please do not reply to this message. This
message is for the designated recipient only and may contain privileged,
proprietary, or otherwise private information. If you have received it in
error, please delete. Any other use of this email by you is prohibited.

 

 

 

 
 

Case 20-10036-CSS Doc66 Filed 02/21/20 Page 14 of 19

 

Classic Tents & Events

Customer Call Log

Monday,February 10, 2020
Account # 8219 Tough Mudder Inc. Duration: 2
15 MetroTech Center BROOKLYN, NY 11201 916 308-9608
Call# Date Contract Operator

5214 2/6/2020 8:50:30AM 33786 Karen Alcock
Sent: Wednesday, February 5, 2020 4:15 PM
To: Sales - Classic <sales@classic-tents.com>
Subject: OOO Re: Invoice# 33779 Info: 2019 ATL Mudder Date: 11/9/2019

Hello,

1am no longer an employee of Tough Mudder. For further information, please contact counsel to the
chapter 11 trustee of Tough Mudder Incorporated and Tough Mudder Event Production, Inc., Morris,
Nichols, Arsht & Tunnell LLP, 1201 North Market Street, 16th Floor, Wilmington, Delaware 19801,
phone: 302-659-9200 (attn.: Curtis S. Miller, Matthew B. Harvey, and Joseph C. Barsalona I!)

Best,
Aaliyah

we o*

*Aaliyah Fowler*
*Associate Producer, Festival

Tough Mudder Inc.
15 Metrofech Center Brooklyn, NY, 11201

5208 2/5/2020 4:24:32PM Karen Alcock
From: Aaliyah Fowler <aaliyah fowler@toughmudder.com>
Sent: Wednesday, February 5, 2020 4:15 PM
To: Sales - Classic <sales@classic-tents.com>
Subject: OOO Re: Invoice# 33779 Info: 2019 ATL Mudder Date: 11/9/2019

Hello,

| am no longer an employee of Tough Mudder. For further information, please contact counsel to the
chapter 11 trustee of Tough Mudder Incorporated and Tough Mudder Event Production, inc., Morris,
Nichols, Arsht & Tunnell LLP, 1201 North Market Street, 16th Floor, Wilmington, Delaware 19801,
phone: 302-659-9200 (attn.: Curtis S. Miller, Matthew B. Harvey, and Joseph C. Barsalona I!)

Best,
Aaliyah

to &

“Aaliyah Fowler*
*Associate Producer, Festival

Tough Mudder inc.
15 MetroTech Center Brooklyn, NY, 11201

5173 2/3/2020 8:54:48AM Karen Aicock Call Duration: 1
Final Notice mailed 2/1/2020.
Receipt attached.

 

“Printed on 20/2020 4:11-44PM customercallloa SOL rot
Case 20-10036-CSS Doc66 Filed 02/21/20 Page 15 of 19

 

 

Customer Call Log Monday February 10, 2020 Page 2 of 2
Account # 8219 Tough Mudder Inc. Duration: 2
15 MetroTech Center BROOKLYN, NY 11201 916 308-9608
Cali# Date Contract Operator
4994 1/20/2020 10:26:37AM Karen Alcock
Aaliyah,

We have not received final payment. We have not had a response from you since we sent the invoice
showing the payments. | have sent the statement with all attached invoices.
Please contact us with payment or we will have to initiate a collection agency to collect.

4976 1/17/2020 2:08:26PM Karen Alcock
Following up on payment for Fal! 2019 Event...

4910 1/13/2020 10:51:58AM Karen Alcock
Aaliyah,

Attached please see outstanding invoices for Tough Mudder.

We need to be able to get these paid so that we can close our books for 2019.
Please contact me with payment arrangements.

Thank you,

4807 12/30/2019 10:08:30AM Karen Alcock
Aaliyah,

Hope your holidays have been happy and healthy!

Just wanted to let you know that we still have not received the balance in our bank account. Could you
follow up on that issue?

My Accounting Dept. is wanting to close the books on 2019 and they are harassing me about it.

| would appreciate it.

4517 11/15/2019 2:19:28PM 33786 Matthew Despas
Talked to Aailayah confirming pickup.

4439 11/4/2019 6:12:12PM 33794 Matthew Despas
Talked to Aaliyah confirming delivery.

4417 11/1/2019 5:53:30PM 33779 Matthew Despas Call Duration: 1
Talked to Aailyah confirming delivery.

4365 10/29/2019 8:42:40AM 33786 Karen Aicock
Okay. Just wanted to touch base with you on that...
There should be a second email with additional questions for you.
If you can prioritize the tents, then on 11/5 we can put most important up first , etc.

4364 10/29/2019 8:42:19AM 33786 Karen Alcock

Aaliyah,

A couple of items:

* ff you could prioritize the tents
if we have time when we install the Compound Tent we could conceivably do additional tent(s)
also the # of tables and chairs for tents.
Did you want us to setup tables & chairs or stack them?
“Secure Doors that lock” we do not have a locking set, what we do have are doors that have
handles on the outside which a chain w/ lock could be used. If that is something that you want us to
provide-| would need to know.

 

“Printed on 2710/2020 4:17-45PM customercaliloa. SOL rot
 

Case 20-10036-CSS Doc66 Filed 02/21/20 Page 16 of 19

Karen Alcock

 

eae wae pues aaa om aa
From: Aaliyah Fowler <aaliyah.fowler@toughmudder.com>
Sent: Friday, October 25, 2019 3:05 PM
To: Karen Alcock
Subject: Tough Mudder Tenting
Attachments: WTM Tenting Order.xlsx; WTM Tenting.JPG; ATL Tenting Order.xlsx; ATL Tenting.JPG
Hi Karen,

Thank you so much for your time today! Below is a bit more information on our events and attached are our tenting needs and maps.
With the event so close together, some tents will be reused and others will need to be taken down, as well as built. On the both event
orders, I have highlighted the repeat tents in a darker green. Please feel free to give me a call if you have any questions!

Event: 7ough Mudder Atlanta - November 9th and 10th
Event Location: 8750 Campbellton Fairburn Rd Fairburn, GA 30213
Expected bodies on site throughout weekend: 5,523

Event: World's Toughest Mudder - November 15th, 16th and 17th
Event Location: 8750 Campbeliton Fairburn Rd Fairburn, GA 30213
Expected bodies on site throughout weekend: 2,000

Talk soon,
Aaliyah

Aaliyah Fowler
Associate Producer, Festival

 

 

 
Case 20-10036-CSS Doc66 Filed 02/21/20 Page 17 of 19

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i Tough Mudder Atlanta Tenting Order Tough Muttder Contact nfo: Rentals Info:
} Address: Houckoert Farms 8740 Compbeliten Fairburn, GA 30213 Aaliyah Fowler
Auild Data: Novamber Lith-12th- fvent Date: Novmember 18th, 16th & 17th - Breakdown November 18th 91.6}308-9608
7 :
jocution ay Quaatity Width Length Sq. Ft. Weight, Chairs Sft Tables Notes
Mon 1 20 40 300 Staked No x x Heated
Mon 2 30 50 500 Staked No 35ides x x
Mon i 40 50 2000 Staked No x x Heated
Mon 1 30 30 900 staked No x x
Mon i 10 20 200 Staked No x x
Mon 2 20 20 400 staked No x x Needs to be full sidewalls near showers
Mon 10 40 400 Staked No
2 secure doors that lock with hard flooring and 8 - 30K tumen LED UFO
Man 1 40 80 3200 Staked Yes All Sides w/ windows x x round I heeded :
Mon 40 40 1600 Staked Neo All Sides w/ windows x x Heated
Mon 10 20 200 Staked No All Sides x x
Mon 16 10 100 Staked No All Sides x x
Mon 20 20 400 Staked No. All Sides w/ windows x x
Other Notes
Friday 11/15 By Delivered to Wild Heaven Beer West End 1010 White
4PM St SW Atlanta GA 30310 .
Mon nfa 3
Mon ofa ' _ _
Mon n/a
Mon nfa _
50 ft strings to hang outside covering jumbatron/food
Mon truck area
Mon -

 

 

 

 

 
 

 

Case 20-10036-CSS Doc66 Filed 02/21/20 Page 18 of 19

Delivery: Tue 14/ $/2019 Delivery Pickup: Mon 11/47/2018

Status: Open
§380 Best Friend Rd. Contract #: 33794
Norcross, GA 30071
CL A S S IC Classic-Tents.com Event Beg: Tue 11/5/2019 12:00AM

770-449-1010 Phone Event End: Mon 11/11/2019 12:00AM
TENTS & EVENTS

770-242-4030 Fax Operator: Matthew Despas
Customer’ E215

Tough Mudder Inc. 916-308-9608 Phone

. 8750 Campbeliton Fairburn Rd Job Descr: 2019 Atlanta Mudder
_ FAIRBURN, GA 30213

Ordered By: Aaliyah Fowler 916 308-3608
Salesman: Karen Alcock
Delivery Tue 11/ 5/2019
Jerry
Aaliyah Fowler 916-308-9608
8750 Campbellton Fairburn Rd
FAIRBURN, GA 30213
Delivery: Arrive. 8 AM

 

 

 

 

 

 

 

e
Delivery Times confirm
_Siays the A ee a 2 punt spp save titties so tnseunen
“BriverName G os Se = Laeca, maw amor Time” A Tey z = rat. ref i a ae,
CLIENT RESPONSIBLE FOR PERMITTING
CLIENT RESPONSIBLE FOR POWER/GENERATOR
___ CLIENT PROVIDING OWN TABLES AND CHAIRS oe
Qty | Items Rented Load _—Del
t | Delivery & Pickup boo} tb
+ | 9x60 White Marquee Tent TI CT
REGISTRATION": NO WALLS
1 | 10x20 White Marquee Tent CI Ef
INFO/MUD SERVICES 3 SIDES WALL
2 | 20x20 White Frame Tent a ee
CHANGING TENTS-WALLS ALL 4 SIDES - NEAR SHOWERS”
1 } 20x30 White Frame Tent Co) EE
NO WALLS
1 } 20x40 F3 Gable White Frame Tent ee en
MERCH-WALL ALL SIDES _.
1 | 30x30 F3 White Frame Tent Co C1
VOLUNTEERS"
4 4 40x50 Navi-Trac Tent [4] [. tT
MEDICAL TENT-WALL ALL SIDES” 5
1 | Devéertnty-PrenctrDeors | (w—!
4 3501 Concrete Weight Co) EE)
BISTRO LIGHTS™ _
350lb Weight Covers- White Cj) (oI
4 | 350\b Weight Covers- White a
12} Coublehead Steel Stake Li] fa)
8 | 8x20 Section Solid White Wall Tract
CHANGING TENTS-WALLS 4 SIDES-NEAR SHOWERS
40 | 8x20 Section Solid White Wall CT) fon
INFO/MUD SERVICES 3 SIDES WALL”
7 | 8x15 Keder Wall Section (Navi) Cu) FE]
VOLUNTEER TENT/1 BAY OPEN FOR ACCESS
8 | 8x20 Keder Wall Section (Navi) Cc]
1 | 8x10. NT Keder Wall Db! Door Cut Out C._| (C3
MEDICAL TENT™
2 | 8x10 Cathedral Keder Wail (Navi) { ca
MERCH Tent -20x40 GABLE
4 | 8x15 Cathedral Keder Wall (Navi} Cc OE
MERCH TENT 20x40 GABLE
6 | 30° Wide Cocktail Table - 42° Tail Co Ce
AP 30" Wide Cocktail Table - 42" Tal Cc] (C6

 

 

"Modification #11
Prrded On Tue 11/5/2019 G02 1544 Sofware by Powi-cl-Rental Saftwara www point-of-renial com seruact-params SQL st (2:

 
 

Contract #: 33794

Oty Items Rented

 

Case 20-10036-CSS Doc 66

Tough Mudder Inc.

Filed 02/21/20

Page 19 of 19

 

 

 

 

 

 

 

 

 

 

 

 

6 : Set Up/Take Down jab e: 7 . }
10 | 6 White Picket Fence cde
VIP P)KET FENCE ;
10. Si-gle PoslBase for 6 Pick-t a
10 | Single Panel For $' Picket pon
2 | Single PostBase for 6’ P.cket Lon
10 | Set-up/Take Down of Fencing L ie J
6 | 420" Round Linen- Biack (iad
DELIVERED ON HANGERS fx: HIGHBOYS oe
4 | Free Standing S:gn and Banner System Lay. J
BISTRO LIGHTS TO COVER BEER TENT AREA” _
4 | BistroMarkel LED Lights Ly]
BISTRO LIGHTS TO COVER BEER TENT AREA‘ pe
6 | Fire Pkg- Lighted Exit, No Smoking 10Ib ihe
TENTS WITH FOUR WALLS (2 in MEDICAL) _
6 | No Smoking Sign (printed) Cie |
6 | 10ib Fire Extinguisher _|
6 | 50f Extension Cord ;
4 | 508 Extension Cord (I
Thank you for your Business!
Rental Contract
Subject to: Site inspection and level portage to within 50’ of delivery truck Permits responsibility of cllent and tant to be staked in
grass unless contracted otherwise Client responsible for marking af} underground ulilities inchiding Irrigation All payment with
credit card subject to 3.00% processing fee
Signature: a
/ Yopgh Mud¥er |
Modification #11

Printed On Tue 11/8/2019 6:03 154M

Softwara ty Powl-ol-Renial Software www pont-ol-rental com

contrect-params SQL mt (2)
